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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 WASTE MANAGEMENT OF                            *    CIVIL ACTION NO. 11-2405
 LOUISIANA, LLC                                 *
                                                *    JUDGE: ENGELHARDT
 VERSUS                                         *
                                                *    SECTION: N
 RIVER BIRCH, INC.; HIGHWAY 90,                 *
 LLC; FREDERICK R. HEEBE; and                   *    MAG. JUDGE: ROBY
 ALBERT J. WARD, JR.                            *
                                                *    MAG. DIV.: 4
 ************************                       *

                            JOINT MOTION FOR ENTRY OF
                          AGREED CONFIDENTIALITY ORDER

        Plaintiff, Waste Management of Louisiana, LLC, and Defendants, River Birch, LLC;

Highway 90, LLC; Frederick R. Heebe; and Albert J. Ward, Jr., jointly seek the entry of this Agreed

Confidentiality Order in order to protect certain information produced and exchanged in this

lawsuit. The parties hereby request that the Court enter the attached Agreed Confidentiality Order

in this case.
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                                                 Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served upon all counsel of record this

14th day of December, 2016, by e-filing the same into the CM/ECF system, which will

automatically deliver a copy of same to all counsel.


                                                       /s/ Thomas M. Flanagan




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